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Counsel for Cameron Wyatt

                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


 TREY GREENE, individually and on               Case No. 2:23-cv-01165-KM-LDW
 behalf of all others similarly situated,

                      Plaintiff,                NOTICE OF MOTION FOR
                                                ADMISSION PRO HAC VICE OF
                 v.                             JEREMY A. LIEBERMAN

 ZAC PRINCE, FLORI MARQUEZ,
 TONY LAURA, JENNIFER HILL and
 GEMINI TRADING, LLC,

                      Defendants.


          PLEASE TAKE NOTICE that on a date determined by the Court, counsel for

Cameron Wyatt ("Movant"), will move before the Honorable Kevin McNulty of the

United States District Court for the District of New Jersey, 50 Walnut Street,

Newark, New Jersey 07101, for an order, pursuant to Local Civil Rule 101.1(c),

admitting Jeremy A. Lieberman to appear and participate pro hac vice in the above-

captioned action.



{00549829; I }                              1
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          PLEASE TAKE FURTHER NOTICE that Movant will rely upon the annexed

Certification of Thomas H. Przybylowski and Declaration of Jeremy A. Lieberman

in support of this motion. No brief is necessary because the law in this area is well

settled.

          PLEASE TAKE FURTHER NOTICE that oral argument is not requested

unless the matter is contested.

          PLEASE TAKE FURTHER NOTICE that a proposed form of order IS

submitted herewith.

          PLEASE TAKE FURTHER NOTICE that Defendants and Counsel for

Defendants have not yet appeared in this action, so, Movants cannot state the

position of Defendants with respect to the relief sought in this Motion.


 Dated: May      $ , 2023                     Respectfully submitted,

                                              POMERANTZ LLP



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{00549829; 1 }                            2
